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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

    SANDRA NICELY FALCONER,                                  §
                                                             §
           Plaintiff,                                        §
                                                             §
    v.                                                       §      Civil Action No. 4:22-cv-03151
                                                             §
    PHH MORTGAGE CORPORATION,                                §
                                                             §
           Defendant.                                        §


     DEFENDANT’S REPLY IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT


          Defendant, PHH Mortgage Corporation (“PHH”), files this Reply in response to the

“Opposition to Defendant’s Motion to Summary Judgement [sic]” (Doc. No. 32) filed by Plaintiff,

Sandra Nicely Falconer (“Plaintiff”).1 Plaintiff initiated this declaratory-judgment action to dispute

alleged accounting errors on her purchase-money loan. (Doc. No. 1-2, ¶ 10). The Court signed the

parties’ Joint Scheduling Order, which initially set the deadline to file dispositive motions on

August 9, 2023. (Doc. No. 13). The Court eventually extended all existing deadlines by 30 days,

and the new deadline to file dispositive motions was set for September 8, 2023. (Doc. No. 14).

          PHH timely filed its Motion to Dismiss within the dispositive motion deadline. (Doc. No.

18). Plaintiff responded to the Motion to Dismiss, and PHH replied. (Doc. Nos. 20, 23). The

Motion to Dismiss is pending.

          PHH then timely moved for summary judgment under Rule 56 on August 31, 2023, subject

to, and without waiving, the Motion to Dismiss. (Doc. No. 31). Plaintiff did not file her own


1
  PHH will respond to Plaintiff’s “Cross-Motion for Summary Judgement [sic]” separately, though such motion was
filed as part of the same document with Plaintiff’s summary judgment response. (Doc. No. 32). PHH objects to
Plaintiff’s combination of two different and unrelated pleadings in the same document because such act violates this
Court’s Civil Procedures. See Civil Procedures 3(E) (“Counsel shall not combine two different and unrelated pleadings
(motions, responses, replies, or exhibits) into he same electronically filed document.”).

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dispositive motion by September 8, 2023. Similarly, Plaintiff did not timely file a response to the

Motion for Summary Judgment by September 21, 2023. See Civil Procedures 7(D) (“Unless

otherwise ordered, counsel must respond to an opposed motion within 21 days from the date the

motion is filed with the Clerk’s Office.”).

         Without seeking leave of Court to file an untimely response, Plaintiff filed an untimely

response to the Motion for Summary Judgment and a cross-motion for summary judgment. (See

generally Doc. No. 32).2 After unilaterally abandoning the bulk of her claims and leaving only her

declaratory-judgment claim, Plaintiff now argues for the first time that the alleged accounting

errors she disputes stem from two unauthorized loan modification agreements bearing forged or

fraudulent signatures. (Doc. No. 32 at 8, 10). Plaintiff’s response rests solely on unsworn pleadings

and unsubstantiated and conclusory allegations that a fact issue exists on the alleged accounting

errors. (Id.). In addition, she also appears—for the first time in this suit—to request quiet title relief

and to seek to invalidate PHH’s lien. (Id. at 1). Notwithstanding Plaintiff’s untimely response,

Plaintiff’s response to the Motion for Summary Judgment fails to address two key issues:

                 Plaintiff agreed to modify the loan twice, and she presented no controverting
                  evidence to demonstrate that her signatures on the executed loan modification
                  agreements were either fraudulent or forged.

                 Plaintiff is not entitled to any relief, including her new request for quiet title,
                  because all her claims lack merit.

         For these reasons and the reasons explained in detail below, the Court should enter a

judgment that Plaintiff take nothing on her claims against PHH and dismiss this lawsuit with

prejudice.



2
 Plaintiff’s response fails to allege good cause for her response over a week after the response deadline. (See generally
Doc. No. 32). Accordingly, PHH respectfully requests this Court to decline to consider `Plaintiff’s response. See Civil
Procedures 7(G) (“Any motion, response, or reply filed after the time limits contained in these rules must be
accompanied by a motion for leave to file that explains why the document was not timely filed. The Court will only
grant a motion for leave to file a motion, response, or reply late if good cause is shown.”).

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                                    I.      RELEVANT FACTS

        Plaintiff admits that she executed a promissory note in the original principal sum of

$72,800. (Doc. No. 1-2, ¶ 7). She does not dispute that she executed a Deed of Trust at the time of

origination. (See generally Doc. Nos. 1-2, 32). Based on the execution of these documents,

Plaintiff agreed to timely repay her mortgage loan obligations. Despite this agreement, Plaintiff

defaulted on her Loan for failing to pay the July 1, 2021 payment, and all subsequent payments.

(Doc. No. 31 at Ex. A-6). Indeed, Plaintiff admits that she “ceased payments in July 2021.” (Doc.

No. 32 at 7).

        Plaintiff filed this lawsuit solely to stop PHH from enforcing its rights and remedies under

the Loan documents premised solely on allegations that she paid off the Note when the Note

originally matured in 2018 and that PHH either improperly accounted for payments made under

the Note or, alternatively, charged unauthorized costs and expenses to the Loan. (Doc. No. 1-2 at

7, 21). In her response, Plaintiff admits that she only asserts a declaratory-judgment claim against

PHH and seeks declaratory and injunctive relief, actual damages, an accounting, and attorney’s

fees.3 (Doc. No. 32 at 5–6, 8).

        PHH has presented evidence conclusively establishing that Plaintiff’s sole declaratory-

judgment claim fails as a matter of law and that PHH is entitled to summary judgment. Specifically,

PHH has demonstrated that Plaintiff modified her loan in 2015 and 2018. (Doc. No. 31 at Exs. A-

4 & A-5). The latter modification changed the Note’s maturity date to February 1, 2033. (Id. at Ex.

A-5). In contrast, Plaintiff has not carried her burden of designating specific facts showing that

there are any genuine issues of material fact on her declaratory-judgment claim. (See generally

Doc. No. 32). Rather, she asserts that the signatures on the notarized loan modification agreements


3
 Plaintiff concedes that she has abandoned her claims for violations of the Texas Property Code and Texas
Constitution, wrongful foreclosure, and attempted wrongful foreclosure. (See Doc. No. 32 at 5–6, 8).

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are either fraudulent or forged without attaching any evidence to either refute any of PHH’s

summary-judgment evidence or support her conclusory allegations that appear in her responsive

brief for the first time in this suit. (Doc. No. 32 at 5, 8). Moreover, she ignores and fails to address

critical evidence presented by PHH. (See generally Doc. No. 32).

                          II.     ARGUMENTS AND AUTHORITIES

A.     PHH Objects to Plaintiff’s Untimely Response, and Plaintiff’s Failure to File a Timely
       Response to the Motion for Summary Judgment Should Be Taken as a
       Representation of No Opposition

       PHH filed the Motion for Summary Judgment on August 31, 2023, (see Doc. No. 31), and

Plaintiff’s response to the Motion for Summary Judgment was due on September 21, 2023. See

Civil Procedures 7(D). Plaintiff filed her untimely response to the Motion for Summary Judgment

on September 29, 2023, without requesting an extension from PHH or obtaining leave of Court.

(Doc. No. 32).

       This Court’s Civil Procedures regarding opposed motions are clear: “Failure to file a timely

response shall be taken as an indication that the opposing party agrees to the motion and the relief

requested.” See Civil Procedures 7(D). Similarly, Rule 56(e)(3) of the Federal Rules of Civil

Procedure authorizes this Court to grant summary judgment in favor of PHH based on undisputed

facts. See FED. R. CIV. P. 56(e)(3). Given that Plaintiff failed to timely respond to the Motion for

Summary Judgment, and this Court’s Civil Procedures treat such failure as an agreement to the

Motion for Summary Judgment and the relief requested therein, the Court should grant the Motion

for Summary Judgment in favor of PHH and dismiss Plaintiff’s claims and requested relief with

prejudice.




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B.      Plaintiff Has Not Presented Any Controverting Evidence Demonstrating That
        Signatures on the Loan Modification Agreements Were Either Fraudulent or Forged

        In her response, Plaintiff argues that “all Exhibits . . . provided as evidence by Defendant

are not documents in [sic] which she herself executed,” contends that “she did not authorize,

consent, nor have knowledge” of any loan modification, and declares that the “signatures are false,

fraudulent, and forgeries.” (Doc. No. 32 at 5, 8). On one hand, Plaintiff admits that she obtained

the purchase-money loan that is the subject of this dispute and thus, PHH’s origination documents

are valid. (See Doc. No. 32 at 6; Doc. No. 31 at Exs. A-1 & A-2). On the other hand, Plaintiff

claims that PHH extended the Loan’s maturity date “without her consent or knowledge” because

the Loan was allegedly “scheduled to mature in 2018.” (Doc. No. 32 at 10). Plaintiff cannot have

it both ways.

        As an initial matter, PHH objects to Plaintiff’s contention that her signatures on all of

PHH’s summary-judgment exhibits, including the loan modification agreements, are forged or

fraudulent, because she has not pled this allegation in the Complaint.4 (See generally Doc. No. 1-

2). Nor has she presented any evidence to support this conclusory allegation. (See generally Doc.

No. 32). “A party may object that the material cited to support or dispute a fact cannot be presented

in a form that would be admissible in evidence.” FED. R. CIV. P. 56(c)(2). In addition, Rule 9(b)

requires Plaintiff to plead fraud and forgery allegations with particularity. See FED. R. CIV. P. 9(b);

Williams v. WMX Techs., Inc., 112 F.3d 175, 177 (5th Cir. 1997). While Plaintiff attempts to couch

her new fraud and forgery arguments in her response to the Motion for Summary Judgment, such

arguments do not appear in the Complaint.5 (See generally Doc. No. 1-2). Nor does she present




4
  PHH vigorously disputes Plaintiff’s unfounded, baseless, speculative, scurrilous, and untimely claims of fraud and
forgery.
5
  The deadline to amend pleadings passed long ago. See FED. R. CIV. P. 15(a)(1). To date, Plaintiff has not asked PHH
for consent to amend the Complaint. FED. R. CIV. P. 15(a)(2). Nor has she obtained leave of Court to do so. Id.

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any admissible evidence to support such arguments. (See generally Doc. No. 32). Under Rule

56(e)(3), the Court may grant summary judgment in favor of PHH if Plaintiff fails to properly

support an assertion of fact or fails to properly address PHH’s assertion of fact as required by Rule

56(c). See FED. R. CIV. P. 56(e)(3). Consequently, summary judgment is warranted here, because

Plaintiff has not presented any controverting evidence to refute PHH’s summary-judgment

evidence.

       Plaintiff admits that she has already utilized standard discovery procedures during the

course of this lawsuit. (Doc. No. 32 at 4). She nevertheless deliberately chose to not request any

evidence to support her newfound allegations of fraud and forgery. Plaintiff could have tried to

support her fraud and forgery contentions with an affidavit or declaration. FED. R. CIV. P. 56(c)(4).

She did not do so. (See generally Doc. No. 32). Plaintiff could have also elicited deposition

testimony from a handwriting expert to testify about the inauthenticity of her purported signatures

on any of PHH’s exhibits. See, e.g., Morrison v. Weyerhaeuser Co., No. CIV.A. H-03-1033, 2004

WL 1945347, at *6 (S.D. Tex. Apr. 13, 2004), aff’d, 119 F. App’x 581 (5th Cir. 2004) (relying on

the testimony of a handwriting expert to support that a document was falsified). She did not do

that either. (See generally Doc. No. 32). Finally, Plaintiff could have deposed PHH’s corporate

representative as another means to seek evidence in preparation for arguing at the summary-

judgment stage. See, e.g., Vanderbilt Mortg. & Fin., Inc. v. Flores, 747 F. Supp. 2d 794, 825 (S.D.

Tex. 2010) (considering borrower’s and corporate witness’s deposition testimony as summary-

judgment evidence on issue concerning allegedly forged and falsely notarized documents). Like

the other possible standard discovery options available to Plaintiff, Plaintiff chose not to do so.

(See generally Doc. No. 32).




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       Instead, Plaintiff lodges unpled, conclusory allegations of forgery and fraud and relies on

all of PHH’s summary-judgment evidence to support her claims. (See Doc. No. 32 at 5). Plaintiff

herself has not attached any controverting evidence demonstrating that the signatures on any of

PHH’s summary-judgment exhibits were false, fraudulent, or forged. (See generally Doc. No. 32).

On this ground, the Court should grant summary judgment in favor of PHH, because Plaintiff has

not carried her burden of supporting her declaratory-judgment claim based on her unpled theories

of fraud and forgery. See FED. R. CIV. P. 56(e)(3).

       In any event, PHH has presented evidence demonstrating that Plaintiff modified the Loan

on two separate occasions and extended the Note’s maturity date. First, Plaintiff signed the Home

Affordable Modification Agreement on September 30, 2015, and such signature was notarized.

Accordingly, Plaintiff’s signature was under penalty of perjury. (Doc. No. 31 at Ex. A-4). In

addition, Plaintiff executed the Loan Modification Agreement on February 10, 2018, and likewise

her signature was also made before a notary. (Doc. No. 31 at Ex. A-5). Under the terms of the

Loan Modification Agreement, “Borrower promise[d] to make monthly payments of principal and

interest of U.S. $748.56, beginning on 01/01/2018 and continuing thereafter on the same day of

each succeeding month until principal and interest are paid in full.” (Doc. No. 31-1 at 54, ¶ 3). The

Loan Modification Agreement expressly states that the “new Maturity Date will be 02/01/2033.”

(Id. at 54, ¶ 1). Notably, Plaintiff expressly agreed that the Loan Modification Agreement was “not

a new loan from lender but simply the modification of the existing obligations under the Loan

Documents.” (Doc. No. 31-1 at 57, ¶ 13).

       Finally, Plaintiff’s own admission that she made payments on the Loan through 2021 is

consistent with the terms of the Loan Modification Agreement. (Doc. No. 31-1 at 54, ¶ 1; Doc.




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No. 32 at 7). Indeed, Plaintiff does not sufficiently explain why she continued paying on the Loan

until 2021 if she reasonably believed that her Loan matured in 2018. (Doc. No. 32 at 7).

       Because Plaintiff requested and received two loan modifications, she is required to pay all

sums due under the terms of the Note, as modified. Id. But Plaintiff admits that she has not paid

on the Note since 2021. (Doc. No. 32 at 7). Thus, there is no genuine dispute as to any material

fact as to Plaintiff’s dispute of the accounting on the Loan, and Plaintiff cannot carry her burden

of establishing that PHH improperly applied any payments or charged any unauthorized costs and

expenses to her Loan.

C.     Plaintiff Is Not Entitled to the Equitable Relief of Accounting

       Plaintiff contends that she is entitled to accounting relief, because “Plaintiff has no actual

knowledge of the execution of any documentation nor execution of a mortgage loan modification.”

(Doc. No. 32 at 10). In the Motion for Summary Judgment, PHH established that Plaintiff is not

entitled to accounting relief, because she has not demonstrated that: (1) this case is complex, (2)

Plaintiff is unable to seek relief through standard discovery procedures, and (3) the equitable

remedy is immediately available. (Doc. No. 31 at 11–14).

       The underlying facts of this case are not complex, but Plaintiff attempts to explain the

allegedly complex nature of the case are based on new unpled theories of allegedly fraudulent or

forged signatures on the loan modification agreements. (See generally Doc. No. 32). This is a futile

attempt to add color to Plaintiff’s threadbare and conclusory request for accounting relief. Each of

Plaintiff’s new allegations and claims should be disregarded, because they are improperly raised

for the first time in her response, and because they are raised without any supporting evidence.

       The Fifth Circuit strongly discourages parties from asserting new claims and allegations

which are not raised in the complaint but, rather, raised first the first time in response to a motion

for summary judgment. See, e.g., Jones v. Wells Fargo Bank, N.A., 858 F.3d 927, 935 (5th Cir.
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2017) (declining to consider a claim and new allegations that were not raised in live complaint but,

rather, raised only in reason to motion for summary judgment); Cutrera v. Bd. of Sup’rs of

Louisiana State Univ., 429 F.3d 108, 113 (5th Cir. 2005) (“A claim which is not raised in the

complaint but, rather, is raised only in response to a motion for summary judgment is not properly

before the court.”); United States ex rel. DeKort v. Integrated Coast Guard Sys., 475 F. App’x

521, 522 (5th Cir. 2012) (“We also conclude that the district court did not err in denying DeKort’s

motion for partial summary judgment because he attempted to raise a new claim, not asserted in

his fifth amended complaint.”); Quintanilla v. Tex. Television, Inc., 139 F.3d 494, 498–99 (5th

Cir. 1998) (agreeing with the district court that plaintiffs did not plead a joint-ownership copyright

claim and holding the district court did not abuse its discretion in denying a plaintiff leave to amend

to add a joint ownership claim); Garza v. City of La Porte, 160 F. Supp. 3d 986, 993 (S.D. Tex.

2016) (holding state-law claims raised by the plaintiff for the first time in his motion for summary

judgment were not properly before the court since “a party cannot use a motion for summary

judgment to raise new claims”).

          Accordingly, Plaintiff cannot amend her pleadings by adding new allegations or theories

of recovery solely in her response to the Motion for Summary Judgment. See id. Plaintiff’s

conclusory allegations that her case is complex are neither entitled to the presumption of truth nor

sufficient to establish that she is entitled to accounting. See Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009).

          Fatal to her request for equitable relief is Plaintiff’s failure to address, among other things,

the required showing that she was unable to seek relief through standard discovery procedures.

(See generally Doc. No. 32). Notably, her response contradicts that she is unable to obtain relief

through standard discovery procedures, because her response refers to an informal discovery



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request and admits that she requested a document from PHH on March 10, 2023. (Doc. No. 32 at

4). PHH produced the document requested by Plaintiff on March 13, 2023. (Doc. Nos. 20, 23).

Thus, by Plaintiff’s own account, she can obtain, and has already obtained, adequate relief at law

through the use of standard discovery procedures. Therefore, her claim for accounting is now moot.

Similarly, Plaintiff’s request for accounting as an equitable remedy is unavailable, because her

underlying declaratory-judgment claim fails. Therefore, PHH is entitled to summary judgment as

a matter of law. See, e.g., Williams v. Wells Fargo Bank, N.A., 560 F. App’x 233, 243 (5th Cir.

2014); Thomas v. EMC Mortg. Corp., 499 F. App’x 337, 343 (5th Cir. 2012).

D.     Plaintiff Is Not Entitled to Her Relief on Her Unpled Request for Quiet Title

       Plaintiff appears to improperly convert her declaratory-judgment action to a quiet-title

action by asking this Court to “issue Plaintiff clear and unencumbered title, free from any liens.”

(Doc. No. 32 at 1). As noted above, the Fifth Circuit prohibits parties from asserting new requests

for relief in a responsive pleading without first amending one’s operative complaint. See Jones,

858 F.3d at 935; Cutrera, 429 F.3d at 113; see also Haenelt v. Carrington Mortg. Servs., LLC, No.

4:20-CV-02650, 2022 WL 161331, at *3 (S.D. Tex. Jan. 18, 2022), appeal dismissed sub nom.

Haenelt v. Carrington Mortg. Servs., L.L.C., No. 22-20085, 2022 WL 3367828 (5th Cir. June 9,

2022) (Hanen, J.) (granting summary judgment on purported quiet-title claim, because Plaintiff

failed to plead a cause of action in complaint and only raised a new theory of recovery in response

to a motion for summary judgment); Pena v. Saul, No. 7:19-CV-0005, 2019 WL 8223588, at *2

(S.D. Tex. Dec. 26, 2019), report and recommendation adopted, 2020 WL 1234281 (S.D. Tex.

Mar. 13, 2020) (stating that “[t]he rule forbidding new claims at the summary judgment stage is

only strictly applied to claims raised in response to a summary judgment motion”). Here, the

requested relief to invalidate PHH’s valid and enforceable lien exceeds the relief requested in the



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Complaint, because Plaintiff has not any requested that the Court quiet title or otherwise invalidate

PHH’s lien. (See generally Doc. No. 1-2).

         Although the Court has discretion to consider the assertion of a new claim, allegations, or

relief in a motion for summary judgment as a motion for leave to amend a complaint, Plaintiff’s

purported amendment lacks any allegations or evidence to establish a prima-facie case for quiet

title.6 See La Union del Pueblo Entero v. Fed. Emergency Mgmt. Agency, 141 F.Supp.3d 681, 701

(S.D. Tex. 2015) (“A response to a motion for summary judgment raising a new claim may be

treated as a motion to amend the complaint and, if the applicable standard is met, may be

granted.”). Plaintiff can only recover on a quiet-title claim by establishing the strength of her own

title; attacking the weakness of PHH’s title will not suffice. Fricks v. Hancock, 45 S.W.3d 322,

327 (Tex. App.—Corpus Christi 2001, no pet.) (“A plaintiff in a suit to quiet title must prove and

recover on the strength of his own title, not on the weakness of his adversary’s title.”).

         As shown supra in Section II(B), Plaintiff has not established the strength of her own title

to the Property, because the loan modification agreements cited in support of the Motion for

Summary Judgment conclusively establish that Plaintiff agreed that the Note’s maturity date would

be extended until 2033. (Doc. No. 31 at Exs. A-4 & A-5). Given that PHH has presented evidence

demonstrating that Plaintiff has not paid on the Loan for more than two years—an undisputed fact

based on Plaintiff’s admission that she “ceased payments in July 2021”—the Court should deny

Plaintiff’s request for quiet-title relief. (Doc. No. 31 at Ex. A, ¶ 12; Doc. No. 32 at 7).




6
  PHH respectfully requests that this Court deny Plaintiff’s request for “leave to amend her Complaint,” because
amendment would be futile in light of Plaintiff’s late filing of her response to the Motion for Summary Judgment, her
failure to attach any controverting evidence to her responsive brief, and the closure of the discovery period on July 9,
2023. (Doc. Nos. 13 & 14).

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E.     Plaintiff Is Not Entitled to Declaratory and Injunctive Relief, Damages, or Attorney’s
       Fees

       In her response, Plaintiff contends that she is entitled to declaratory and injunctive relief

for “Defendant’s failure to account for payments made on the Note or, alternatively, Defendant

charging unauthorized costs and fees.” (Doc. No. 1-2, ¶¶ 13–15, 21–22, Prayer). As demonstrated

supra in Section II(B), there are no genuine issues of material fact relating to any unauthorized

charges. See supra Section II(B). Notably, Plaintiff’s response to the Motion for Summary

Judgment fails to address any alleged unaccounted for payments. (See generally Doc. No. 32). A

request for declaratory judgment is remedial in nature and dependent upon the assertion of viable

causes of action. However, given the absence of any viable substantive claim, Plaintiff is not

entitled to declaratory or injunctive relief. See Sid Richardson Carbon & Gasoline Co. v.

Interenergy Res., Ltd., 99 F.3d 746, n.3 (5th Cir. 1996); Collin Cnty., Tex. v. Homeowners Ass’n

for Values Essential to Neighborhoods, 915 F.2d 167, 170–71 (5th Cir. 1990); Green v. Amerihome

Mortg. Co., LLC, No. 4:20-CV-0153, 2020 WL 2106692, at *4 (S.D. Tex. Apr. 16, 2020), report

and recommendation adopted, No. CV H-20-153, 2020 WL 2104639 (S.D. Tex. May 1, 2020).

       For the first time in this suit, Plaintiff requests actual damages “in the form of mortgage

payments which exceeded passed [sic] the alleged maturation date of the mortgage loan,” along

with “exemplary damages.” (Doc. No. 32 at 1, 11). Although Plaintiff vaguely pleads for

“$250,000 or less” in actual damages in the Complaint, Plaintiff has not established any viable

claims to support an award for actual damages. (Doc. No. 1-2 at 11, ¶ 4).

       Finally, Plaintiff’s response fails to address PHH’s argument regarding Plaintiff’s critically

flawed request for attorney’s fees. (Doc. No. 23 at 11). Nevertheless, Plaintiff’s request for

attorney’s fees fails, because her request is premised on an unviable declaratory-judgment claim.




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See Douglas v. Wells Fargo Bank, N.A., 992 F.3d 367, 377 (5th Cir. 2021); Green Int’l, Inc. v.

Solis, 951 S.W.2d 384, 390 (Tex. 1997).

                                      III.    CONCLUSION

       This case is straightforward, notwithstanding Plaintiff’s efforts at obfuscation. Plaintiff

sued to stop PHH’s foreclosure proceedings after admittedly defaulting on a loan she had agreed

to modify on two occasions. Instead of prosecuting this action in accordance with the Federal Rules

and this Court’s Civil Procedures and utilizing available discovery mechanisms, Plaintiff chose to

file a late responsive brief replete with conclusory and unsubstantiated allegations premised on

unpled and scurrilous theories of fraud and forgery. Above all, she chose to present no evidence

whatsoever to support such unpled theories. Plaintiff’s choices are insufficient to carry her heavy

summary-judgment burden. Therefore, PHH respectfully requests that the Court grant the Motion

for Summary Judgment, deny Plaintiff’s request for leave to amend the Complaint, dismiss all of

Plaintiff’s claims with prejudice, and deny all of Plaintiff’s requests for relief. PHH also requests

that the Court award PHH all other relief, at law and in equity, to which it is justly entitled.




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                                         Respectfully submitted,

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                                CERTIFICATE OF SERVICE

      The undersigned certifies that on October 5, 2023, a true and correct copy of the foregoing
document was delivered to the following via ECF consistent with the Federal Rules of Civil
Procedure.

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